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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                  Plaintiff,               )                    4:09CR3119
                                           )
           v.                              )
                                           )
CHRISTIAN QUEVEDO, CARLOS                  )          MEMORANDUM AND ORDER
CARPIO,                                    )
                                           )
                  Defendants.              )


     IT IS ORDERED:

     1)    Defendant Carpio’s motion to continue, (filing no. 42), is granted.

     2)    Defendant Carpio shall file his pretrial motions on or before February 20, 2010.

     DATED this 22nd day of January, 2010.


                                                 BY THE COURT:

                                                 s/ Cheryl R. Zwart
                                                 Cheryl R. Zwart
                                                 United States Magistrate Judge
